         Case 5:17-cv-00079-JLH Document 24 Filed 10/05/17 Page 1 of 1



                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            PINE BLUFF DIVISION


CHARLES E. HAMNER                                                             PLAINTIFF
ADC #143063

VS.                              NO. 5:17-CV-79-JLH-BD

DANNY BURLS, et al.                                                        DEFENDANTS


                                         ORDER

       Defendants have filed an Answer to Plaintiff’s Complaint. If Defendants intend

to pursue a defense that Plaintiff failed to exhaust his administrative remedies before

filing this lawsuit, it must be raised by motion for summary judgment no later than

November 6, 2017. Discovery is stayed until further order.

       DATED this 5th day of October, 2017.



                                          ___________________________________
                                          UNITED STATES MAGISTRATE JUDGE
